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In the Cnited States Court of Federal Claims

No. 12-63T

(Filed: September 3, 2019)!

 

)
TERRI L. STEFFEN and PAUL A. )
BILZERIAN, )
) Motion to Dismiss; RCFC
Plaintiffs, ) 12(b)(6); Income Tax Refund;
) Claim of Right; 26 U.S.C. § 1341
v. ) (2012).
)
THE UNITED STATES, )
)
Defendant. )
)

 

Terri L. Steffen and Paul A. Bilzerian, Basseterre, St. Kitts, pro se.

 

Margaret E. Sheer, Attorney of Record, with whom were Richard E. Zuckerman,
Principal Deputy Assistant Attorney General, David J. Pincus, Chief, and Mary M.
Abate, Assistant Chief, Tax Division, Court of Federal Claims Section, United States
Department of Justice, Washington, DC, for defendant.

OPINION
CAMPBELL-SMITH, Judge.

Before the court is defendant’s motion to dismiss plaintiffs’ second amended
complaint for failure to state a claim upon which relief may be granted, pursuant to Rule
12(b}(6) of the Rules of the United States Court of Federal Clams (RCFC). See ECF
No. 104. In evaluating defendant’s motion, the court considered: (1) plaintiffs’ second
amended complaint (complaint), ECF No. 85; (2) defendant’s motion to dismiss, ECF
No. 104; (3) plaintiffs’ response, ECF No. 111; (4) plaintiffs’ “verified reply to
defendant’s notice of correction,” ECF No. 117; (5) defendant’s corrected reply, ECF

 

I This opinion was issued under seal on July 24, 2019. The parties were invited to
identify confidential material subject to deletion on the basis that the material was
protected or privileged. No redactions were proposed by the parties. Thus, the sealed
and public versions of this opinion are identical, except for the publication date and this
footnote,

 
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No. 119; and (6) plaintiffs’ sur-reply, ECF No. 122. For the following reasons,
defendant’s motion to dismiss, pursuant to RCFC 12(b)(6), is GRANTED.

I. Background

In their complaint, plaintiffs, a married couple, seek a tax refund pursuant to 26
U.S.C. § 1341 (2012). See ECF No. 85 at 1. Specifically, plaintiffs allege that they paid
taxes by way of jointly filed tax returns for the 1985 and 1986 tax years on income they
were later ordered by the Securities and Exchange Commission (SEC) to disgorge. See
id. at 1-2. The amounts involved are considerable. For tax year 1985, plaintiffs allege
that they reported $2,681,106 of ordinary income, “which was money received under a
claim of right related to profit earned in connection with the purchase and sale of
1,138,567 shares of Cluett, Peabody & Company ... stock,” and on which they paid
$130,175 in taxes. For tax year 1986, plaintiffs allege that they reported $15,809,284 of
ordinary income, “which was money received under a claim of right related to profit
earned in connection with the purchase and sale of Hammermill Paper Company ...
stock,” and on which they paid $5,009,631 in taxes. Id. at 2.

Plaintiffs’ complaint also includes a refund claim for taxes paid for the 1987 tax
year in each count, in an amount of $3,103,339, bringing the total claimed refund to
$8,243,145. See id. at 3-4, 5-6. The complaint does not explain the origin of the
income—it is not explicitly connected to either the Cluett or the Hammermill stock
transactions. As such, it is not clear on what basis plaintiffs allege that the 1987 tax
amount should be included in its claim for a refund pursuant to 26 U.S.C, § 1341.

Although plaintiffs allege two claims for relief-—the first claiming entitlement to
a refund of the funds outlined above on their 2001 taxes, and the second claiming
entitlement to the same refund on their 2002 taxes—plaintiffs acknowledge that they
cannot recover on both. In their response to defendant’s motion to dismiss, they state:
“Clearly, Plaintiffs are only entitled to one refund, but it is not entirely clear which year
applies which is why refund claims were filed for both possible years.” ECF No, 111 at
12.

Plaintiffs indicate, in both counts of the complaint, that their requests for a refund
were prompted by an agreement between Terri Steffen and the SEC:

On December 19, 2001, Steffen entered into an agreement to disgorge the
Profits to the SEC (“SEC Agreement”), which had been included on
Plaintiffs’ 1985 and 1986 tax returns under a claim of right... . The SEC
Agreement, which was filed in the DC Court under seal, provided that, “The
amounts ordered to be disgorged and transferred under the Final Judgment
were previously included by Ms. Steffen in her gross income because she

 
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believed she had an unrestricted right to such amounts. Under the terms set
forth herein, Ms. Steffen shall repay these amounts that she had previously
received under a claim of right.
ECF No. 85 at 3, 5. The United States District Court for the District of Columbia
entered a final judgment by consent approving the agreement between Ms. Steffen and
the SEC, Id.

“On February 1, 2010, the [Internal Revenue Service] Appeals Office rejected
Plaintiffs’ claim [to a refund] and informed them that they had a right to file an action
for [a] refund in this Court within two years.” Id, at 4, 6. Plaintiffs filed their original
complaint in this court on January 31, 2012. See ECF No. 1.

Il. Legal Standards
A. Pro Se Litigants

The court acknowledges that plaintiffs are proceeding pro se, and are “not
expected to frame issues with the precision of a common law pleading.” Roche v. U.S.
Postal Serv., 828 F.2d 1555, 1558 (Fed. Cir. 1987). Pro se plaintiffs are entitled to a
liberal construction of their pleadings. See Haines v. Kerner, 404 U.S. 519, 520 (1972)
(requiring that allegations contained in a pro se complaint be held to “less stringent
standards than formal pleadings drafted by lawyers”). Accordingly, the court has
examined the complaint and plaintiffs’ other filings thoroughly to discern all of
plaintiffs’ claims and legal arguments.

B. Dismissal under RCFC 12(b)(6)

It is well-settled that a complaint should be dismissed under RCFC 12(6)(6)
“when the facts asserted by the claimant do not entitle him to a legal remedy.” Lindsay
v. United States, 295 F.3d 1252, 1257 (Fed. Cir. 2002). When considering a motion to
dismiss brought under RCFC 12(b)(6), “the allegations of the complaint should be
construed favorably to the pleader.” Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), “To
survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted
as true, to ‘state a claim to relief that is plausible on its face.”” Ashcroft v. Iqbal, 556
US, 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570
(2007)).

 
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II. Analysis
A. Plaintiffs’ Complaint Fails to State a Claim

The statute pursuant to which plaintiffs claim entitlement to a refund, 26 U.S.C. §
1341, titled “Computation of tax where taxpayer restores substantial amount held under
claim of right,” reads, in relevant part:

(a) General rule.
If—

(1) an item was included in gross income for a prior taxable year
(or years) because it appeared that the taxpayer had an unrestricted
right to such item; .

(2) a deduction is allowable for the taxable year because it was
established after the close of such prior taxable year (or years) that the
taxpayer did not have an unrestricted right to such item or to a portion
of such item; and

(3) the amount of such deduction exceeds $3,000,

then the tax imposed by this chapter for the taxable year shall be the lesser
of the following:

(4) the tax for the taxable year computed with such deduction; or
(5) an amount equal to—

(A) _ the tax for the taxable year computed without such
deduction, minus

(B) the decrease in tax under this chapter (or the
corresponding provisions of prior revenue laws) for the prior
taxable year (or years} which would result solely from

the exclusion of such item (or portion thereof) from gross
income for such prior taxable year (or years).

(b) Special rules,

 
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(1) ‘If the decrease in tax ascertained under subsection (a)(5)(B)

exceeds the tax imposed by this chapter for the taxable year (computed
without the deduction) such excess shall be considered to be a payment of
tax on the last day prescribed by law for the payment of tax for the taxable
year, and shall be refunded or credited in the same manner as if it were an
overpayment for such taxable year.

26 U.S.C. § 1341(a)-(b)(1). Relief may be granted under this statute “to a taxpayer who
in one tax year includes an item as gross income and pays tax on that income, and then
in a subsequent year is compelled to return the item, and thus to pay back the previously
reported income or a portion thereof.” Griffiths v. United States, 54 Fed. Cl. 198, 201
(2002).

 

According to the United States Court of Appeals for the Federal Circuit:

A taxpayer qualifies for favorable treatment under § 1341 if (1) an item was
included in the taxpayer’s gross income in a prior year, see § 1341(a)(1); (2)
it appeared that the taxpayer had an unrestricted right to the item in the prior
year, see § 1341(a)(1); and (3) the taxpayer is entitled to a deduction (in
excess of $3,000) under another section of the Internal Revenue Code for the
loss resulting from the payment of the item to another in the current tax year,
see § 1341 (a)(2).

Culley v. United States, 222 F.3d 1331, 1334-35 (Fed. Cir. 2000) (citations omitted)
(emphasis added). See also United States v. Skelly Oil Co., 394 U.S, 678, 683 (1969)
(noting that applying 26 U.S.C. § 1341 requires reference “to other portions of the Code
to discover how much of a deduction is allowable”); Nacchio v. United States, 824 F.3d
1370, 1374 (Fed. Cir. 2016), cert. denied, 137 S. Ct. 2239 (2017) (“As a prerequisite to
relief under § 1341, the taxpayer must also establish that he is “entitled to a deduction
(in excess of $3,000) under another section of the Internal Revenue Code for the loss.”)
(quoting Culley, 222 F.3d at 1335); Griffiths, 54 Fed. Cl. at 202 (“Section 1341 does not
independently create a deduction.”) (citation omitted); 26 C.F.R. § 1.1341-Itaj) CIE
during the taxable year, the taxpayer is entitled under other provisions of chapter_1 of the
Internal Revenue Code of 1954 to a deduction of more than $3,000 because of the
restoration to another of an item which was included in the taxpayer’s gross income for a
prior taxable year (or years) under a claim of right, the tax imposed by chapter 1 of the
Internal Revenue Code of 1954 for the taxable year shall be the tax provided in
paragraph (b) of this section.”) (emphasis added).

 

With regard to the requirement that the taxpayer demonstrate the appearance of
an unrestricted right, the Federal Circuit has held that:

 
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When a taxpayer knowingly obtains funds as the result of fraudulent action,
it simply cannot appear from the facts known to him at the time that he has a
legitimate, unrestricted claim to the money. When committing an intentional
wrong, a taxpayer must be prepared for the eventuality of being discovered
and being held liable for repayment in the form of restitution, disgorgement,
civil or criminal penalties, or the like. A taxpayer’s illicit hope that his
intentional wrongdoing will go undetected cannot create the appearance of
an unrestricted right.

Culley, 222 F.3d at 1335-36 (citations omitted); see also Nacchio, 824 F.3d at 1374.

In its motion to dismiss, defendant alleges that plaintiffs cannot state a claim for
relief, and that the complaint should be dismissed pursuant to RCFC 12(b)(6). See ECF
No. 104. The argument proceeds in two parts. Defendant contends first, that Paul
Bilzerian is ineligible for the relief provided by 26 U.S.C. § 1341 due to his criminal
fraud convictions, and that Ms. Steffen has no independent right to the refund. Id. at 29-
38. Second, defendant asserts that even if Ms. Steffen does have an independent right to
a refund, she is collaterally estopped from asserting that claim on the basis of prior
proceedings. Id. at 38-45. While defendant’s arguments may have merit, defendant fails
to address the threshold issue that plaintiffs did not plead the necessary elements of their
claim.

In the complaint, plaintiffs allege their right to “‘a tax refund pursuant to 26
[U.S.C.] § 1341,” and allege the court’s jurisdiction “under 28 U.S.C. § 1491(a)(1).”
Plaintiffs invoke no other statutes, and they present no additional substantive basis to
justify any part of the refund they seek. This pleading is, on its face, insufficient to state
a claim pursuant to 26 U.S.C. § 1341. As noted above, the Supreme Court of the United
States, the Federal Circuit, and this court have all held that a claim made under § 1341
must be premised on, or made in reference to, “other portions of the Code to discover
how much of a deduction is allowable.” Skelly Oil, 394 U.S. at 683. See also Nacchio,
824 F.3d at 1370; Culley, 222 F.3d at 1334-35; Griffiths, 54 Fed. Cl. at 202. Absent an
allegation of the source of the deduction plaintiffs seek, the court cannot provide a legal

 

2 The complaint does not make allegations specific to a particular subsection of §
1341. The attachments to the complaint, however, variously refer to § 1341(b)(1), see,
e.g., ECF No. 85 at 11, 16; § 1341(a)(4), see, e.g., id. at 3; and § 1341(a)(5), see, e.g., id.
at 32, as the relevant parts of the statute. The text of the statute unambiguously states
that these sections only operate after the requirements of § 1341(a)(1)-G) are met. As
such, the inconsistent statutory citations do not affect the present analysis. This reading
of the statute is consistent with the Federal Circuit’s decision in Culley v. United States,
222 F.3d 1331 (Fed. Cir. 2000). In Culley, the appellant sought a deduction calculated
under § 1341(a)(5), and the Court’s analysis started by reviewing whether the appellant
had satisfied the requirements of § 1341(a)(1)-(3). See Culley, 222 F.3d at 1334-35.

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remedy. As such, the court must dismiss the complaint for failure to state a claim upon
which relief can be granted.

B. No Amendment Is Warranted

The court has considered allowing plaintiffs to amend their complaint for a third
time, but for three reason has determined that allowing an amendment in this case is not
in the interests of justice, as contemplated by RCFC 15{a)(2) (freely allowing
amendment as “justice so requires”). First, plaintiffs acknowledge in their complaint
that in order for a taxpayer to pursue a recovery under § 1341, certain requirements must
be met. Among those, as stated by plaintiffs, is the requirement that “the payments were
deductible.” ECF No. 85 at 4. Because plaintiffs have not alleged the right to a specific
deduction, they have failed to meet the standard they recite in their own complaint.

In addition, as defendant ably outlines in its motion to dismiss, plaintiffs have
been involved in litigation based on the underlying facts of this case, in multiple
jurisdictions, for more than thirty years. See ECF No. 104 at 16-25, Even though they
are proceeding pro se, plaintiffs are not legal novices. And plaintiffs have had multiple
chances to plead a proper claim in the context of this case—they have filed their original
complaint, ECF No. 1, and two amended complaints, ECF Nos. 7 and 85.

Finally, although defendant does not explicitly argue for dismissal because of
plaintiffs’ failure to plead the substantive basis of their claims, defendant does explain
the relevant requirement in its motion to dismiss: “Section 1341 is computational—it
does not bestow substantive rights upon a taxpayer. Rather, a taxpayer must also show
that he is otherwise entitled to a deduction under the Internal Revenue Code.” ECF No.
104 at 28 (citing case law for this proposition). Despite this clear statement of law,
plaintiffs did not address the deficiency in any of the subsequent three briefs they filed.
See ECF Nos. 111, 117, and 122.

Because plaintiffs were aware of the relevant standard, have had multiple
opportunities to revise their complaint, and failed to address the deficiency in response
to defendant’s motion to dismiss, the court will not permit further amendments in this
case,

IV. Conclusion

Accordingly, defendant’s motion to dismiss plaintiffs’ second amended complaint
pursuant to RCFC 12(b)(6), ECF No. 104, is GRANTED. The clerk’s office is directed
to ENTER final judgment DISMISSING plaintiffs’ second amended complaint, with
prejudice.

 
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In addition, on or before August 30, 2019, the parties shall CONFER and FILE a
redacted version of this opinion, with any material deemed protected marked out and
enclosed in brackets, so that a version of the opinion can be made available in the public
record of this matter.

IT TS SO ORDERED.

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